EXHIBIT 33
                               LESSON PLAN COVER SHEET

   .....,
COURSE:                                                         TRAINEE LEVEL:
BASIC RECRUIT COURSE                                            RECRUIT OFFICER
LESSON:                                                        TIME REQUIRED:
POLICING THE EMOTIONALLY DISTURBED                             APPROXIMATELY 9 HOURS
PREPARED BY: NEW YORK CITY POLICE ACADEMY,                      DATE PREPARED:
CURRICULUM AND EVALUATION UNIT                                  AUGUST 2003
REVISED BY: SGT AARON LAI, NEW YORK CITY POLICE DATE REVISED:
ACADEMY, CURRICULUM AND EVALUATION UNIT         JULY2012
REVIEWED BY: LT TED FEDEROFF, NEW YORK CITY                     DATE REVIEWED:
POLICE ACADEMY, CURRICULUM AND EVALUATION                       JULY2012
UNIT
APPROVED BY: LT TED FEOEROFF, NEW YORK CITY                     DATE APPROVED:
POLICE ACADEMY, CURRICULUM AND EVALUATION                       JULY 2012
UNIT
TRAINING NEED:
ENTRY LEVEL POLICE OFFICER TRAINING

INSTRUCTIONAL GOAL:
At the end of this lesson the students will be familiar with the term Emotionally Disturbed Persons
(EDP's) and how to deal with the emotionally disturbed.
LEARNING OBJECTIVES:

 At the completion of this lesson the student will be able to:
  I.   Identify and recognize emotionally disturbed persons as per classroom discussion.
 11.   Explain and describe how to deal with emotionally disturbed persons (EDP'S) based on
      classroom discussion and Patrol Guide.
111.   Identify the legal issues regarding mental illness
IV.    Explain the procedures pertaining to Mobile Crisis Outreach Teams and Assertive Community
      Treatment Teams and the proper use of a Life Net Referral.
 V.    Properly prepare an Aided Report Worksheet for an Emotionally Disturbed Person
VI.    Identify specific mental disorders based on classroom discussion.

METHOD OF PRESENTATION                                          CLASSROOM REQUIREMENTS:
Lecture, Question & Answer,                                     Formal Classroom Seating
Group Discussion
METHOD OF EVALUATION:
QUIZ
STUDENT MATERIAL:
Notebook And Pen, Student Guide, Patrol Guide, Penal Law

TRAINING AIDS, SUPPLIES, EQUIPMENT:                             BIBLIOGRAPHY:
Computer and Monitor, PowerPoint                                Police Student Guide, Patrol Guide,
                                                                NYS Penal Law




                          CITY OF NEW YORK POLICE DEPARTMENT

                                                                                            DEF 5659
LESSON: POLICING THE EMOTIONALLY DISTURBED                                        INSTRUCTOR
                                                                                  CUES:


                               INTRODUCTION

       Encounters with "Emotionally Disturbed Persons," otherwise known
as "EDP's," are among the most frequent and sensitive of all police
interactions. NYPD Patrol Officers are dispatched to reports of EDP's many
times a day. Other officers encounter EDP's independent of the radio
dispatcher, when they see them while patrolling their posts or are told about
EDP's by passersby. On occasion, EDP's come to police attention because
their actions are criminal, and result in injury to people or damage to
property.

        Dealing with people who are emotionally disturbed requires a high
degree of skill and sensitivity. As police, we are responsible for getting such
people to mental health professionals, but we also have other
responsibilities: We must protect the lives and safety of EDP's, as well as,
the lives and safety of other innocent people, including ourselves. We also
have an obligation to protect emotionally disturbed persons' rights and
dignity.

      Recognizing and properly handling situations involving persons who
may be emotionally disturbed is critical to your safety and others, including
the EDP, and to your effectiveness as a Police Officer.

At the conclusion of this lesson, the student will be able to:

   •   Identify and recognize emotionally disturbed persons as per
       classroom discussion.
   •   Explain and describe how to deal with emotionally disturbed persons
       (EDP'S) based on classroom discussion and Patrol Guide.
   •   Identify the legal issues regarding mental illness.
   •   Explain the procedures pertaining to Mobile Crisis Outreach Teams
       and Assertive Community Treatment Teams and the proper use of a
       Life Net Referral.
   •   Properly prepare an Aided Report Worksheet for an Emotionally
       Disturbed Person.
   •   Identify specific mental disorders based on classroom discussion.




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                                                                                          DEF 5660
LESSON: POLICING THE EMOT!ONALLY DISTURBED                                         INSTRUCTOR
                                                                                   CUES:


                                   BODY

           Mental disorders are illnesses that affect a person's thinking,
  feelings, or behavior. Mental illness can range from chronic mild forms
  to life-threatening disorders. Mental illness may begin in childhood or at
  any point later in the life cycle. The causes of most mental disorders are
  unknown, but they appear to be biological and environmental. At times,
  people with mental illness call for police assistance themselves. They
  may be victims of crimes, accidents, or witnesses. Mental illnesses
  affect all types of people. It is an equal opportunity affliction that affects
  people regardless of intelligence, achievement, or prominence. Mentally
  ill people may be professionals, office workers, laborers, homemakers,
  children, elderly people, or people who depend on welfare and other
  social services for survival. One in five families in America is affected by
  mental illness.


   I. EMOTIONALLY DISTURBED PERSON                                                 Learning Objective
                                                                                   #1
          May be a person who appears to be experiencing symptoms of
    his or her mental illness or is acting bizarrely and who is conducting
    himself in a manner, which a Police Officer reasonably believes, is            Stress this point.
    likely to result in serious injury to himself or others.                       Write 3 l's on the
                                                                                   chalkboard
   A. The Criteria for a Police Officer to Identify Abnormal Behavior
                                                                                   Inappropriate -
       1.    Inappropriate,                                                        Unsuited; not proper;
       2.    Inflexible,                                                           not belonging to or
       3.    Impulsive                                                             fitted for.
                                                                                   Inflexible - 1.
   8. Behavior that Fit the Three (3) l's:                                         Unbending; rigid; that
                                                                                   cannot be bent or
        1.   Inappropriate physical appearance                                     curved. 2. Firm in
                 a) Disheveled or bizarre physical appearance.                     mind or purpose; not
                 b) Appearance that is inappropriate to the environment.           top prevailed on;
                       (1) Person who wears shorts in winter, or a heavy           unyielding; fixed.
                           coat in the summer.                                     Impulsive - 1.
                                                                                   Impelling; driving
        2.   Inappropriate body movements.                                         forward. 2. Acting or
                 a) Strange posture or mannerisms.                                 given to acting on
                       (1) Pacing or agitated movements.                           impulse.
                                                                                   Definitions taken
       3.    Disturbances in perception                                            from the Webster
                a) Responding to voices or objects that are not there.             New Universal
                b) Expressions of grandiose ideas                                   Unabridged
                      ( 1) Person thinks he is Abraham Lincoln                     Dictionary.


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                                                                                                DEF 5661
LESSON: POLICING THE EMOTIONALLY DISTURBED                                  INSTRUCTOR
                                                                            CUES:

               c) Hallucinations, delusions, or other false beliefs.
               d) Major memory lapses, confusion or unawareness of
                  people or surroundings.

       4.   Disturbances in thought
                a)lt may be hard to follow an EDP's train of thought.
                b)May jump from subject to subject, making subject
                   matter appear incoherent.
                c)Speech may be difficult or impossible to interrupt.

       5.   Inappropriate moods or rapid mood swings.
               a) Rapid mood swings-from elation to depression.
               b) Overreacting to situation in overly angry or frightened
                    manner.
               c) - Speech patterns that lack the normal ups and downs
                    of emotions or uncontrollable bursts of emotion.
               d) Expressing feelings of persecution.
               e) Obsessive thoughts or preoccupation with subjects
                    such as death or guilt.

       6.   Acting or threatening to cause injury to self or others.
                a) Cutting self with sharp object
                b) Causing cigarette burns on body
                c) Starving self
                d) Expressing desire to do the same to self or others

   C. Environmental Indicators

       1.   Inappropriate decorations
                a)Strange trimmings or inappropriate use of household
                   items
                       (1) e.g. aluminum foil covering windows

       2.   Inappropriate wastes or trash
                a) Accumulating extraordinary amounts of household
                   items
                       (1) newspapers
                       (2) paper bags
                       (3) trash
                   Note: The accumulating of the proceeding items can
                   become a safety and health hazard, this may be a
                   particular problem among the elderly and officers
                   should be alert to it.

               b) Presence of feces or urine on floors or walls




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                                                                                    DEF 5662
LESSON: POLICING THE EMOTIONALLY DISTURBED                                        INSTRUCTOR
                                                                                  CUES:


       D. It is not necessary for an Emotional Disturbed Person to exhibited
          or display all of the three (3) l's.


 II.     DEALING WITH EMOTIONALLY DISTURBED PERSONS                               Learning Objective
                                                                                  #2
            A. Review Patrol Guide Procedure 216-05
                 1. The primary duty of all Members of the Service is to
                     preserve human life.
                 2. The safety of All persons involved is paramount in
                     cases involving emotionally disturbed persons.
                 3. If such a person is a danger to himself or others,
                     necessary force may be used to prevent serious
                     physical injury or death.
                 4. Physical force will be used ONLY to the extent                Stress:
                     necessary to restrain the subject until delivered to         Distance + Time =
                     hospital or detention facility.                              Safety
                 5. Deadly physical force will be used only as a last
                     resort to protect the life of the Uniform Member of
                     the Service or any other person present.
                 6. If the emotionally disturbed person is armed or
                     violent, no attempt will be made to take the EDP
                     into custody without the specific direction of the
                     Supervisor, unless there is an immediate threat of           Patrol Guide 216-05
                     physical harm to the EDP or others present.                  Mentally Ill or
                 7. If the EDP is unarmed, not violent, and willing to leave      Emotionally
                     voluntarily, a Uniformed Member of the Service may           Disturbed Persons
                     take such person into custody.
                 8. When there is time to negotiate, use all of the time
                     necessary to ensure the safety of all individuals.

            B. If the EDP is arrested follow both Patrol Guide procedures
                216-05 Mentally Ill or Emotionally Disturbed Persons and
                Patrol Guide 208-02, Arrest- Removal to Department Facility
                for Processing
                   1. Under no circumstances will EDP be transported to a
                       police facility.
                   2. Prisoners demonstrating extreme emotional
                       disturbance will be removed to nearest hospital (Patrol
                       Guide procedure 210-04 Prisoners Requiring
                       Medical/Psychiatric Treatment).
                   3. Prisoners suffering from "cocaine psychosis" will be
                       brought to an appropriate hospital facility and not to a
                       police facility (Patrol Guide 208-06 Arrest-Security
                       Measures).



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                                                                                              DEF 5663
LESSON: POLICING THE EMOTIONALLY DISTURBED                                      INSTRUCTOR
                                                                                CUES:

             NOTE: Isolate and Contain

       C. Definitions:

             1.   EMOTIONALLY DISTURBED PERSON (EDP) - A
                  person who appears to be mentally ill or temporarily
                  deranged and is conducting him or herself in a
                  manner, which a Police Officer reasonably believes is
                  likely to result in serious injury to themself or others.

             2.   ZONE OF SAFETY - The distance to be maintained
                  between the EDP and the responding Meniber(s) of
                  the Service. This distance should be greater than the
                  effective range of the weapon (other than a firearm),
                  and it may vary with each situation (e.g., type of
                  weapon possessed, condition of EDP, surrounding
                  area, etc.). A minimum distance of twenty (20) feet is
                  recommended. An attempt will be made to maintain
                  the "zone of safety" if the EDP does not remain
                  stationary.
                       a) Distance and Time equals safety.

       D. Procedure - When a UMOS reasonably believes that a person
          who is apparently mentally ill or emotionally disturbed, must be
          taken into protective custody because the person is conducting
          himself in a manner likely to result in a serious injury to himself
          or others:

       Operations Order 59 of 2008: The communications section has
       created a system that will alert radio dispatchers of a prior history
       of three or more confirmed responses for a 10-54 E radio run at
       the same location within prior 365 day period. UMOS will check
       with dispatcher for previous radio runs and request a check when
       handling a pick up EDP job.

             1.   Upon arrival at scene, assess situation as to threat of
                  immediate serious physical injury to EDP, other persons
                  present, or Member of the Service. Take cover, utilize
                  protective shield if available and request additional
                  personnel, if necessary.
                      a) If emotionally disturbed person's actions
                          constitute immediate threat of serious physical
                          injury or death to himself or others:

                             (1)Take reasonable measures to terminate
                                or prevent such behavior.          Deadly
                                 physical force will be used only as a last

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                                                                                        DEF 5664
LESSON: POLICING THE EMOTIONALLY DISTURBED                                 INSTRUCTOR
                                                                           CUES:

                               resort to protect the life of persons or
                               officers present.

         Note: Damaging of property would not necessarily constitute
         an immediate threat of serious physical injury or death.

                     b) If EDP is unarmed, not violent and is willing to
                        leave voluntarily:

                           (1) EDP may be taken into custody without
                               the specific direction of a supervisor.

                     c) In all other cases, if EDP's actions do not
                        constitute an immediate threat of serious
                        physical injury or death to himself or others:

                           (1) Attempt to isolate and contain the EDP
                               while maintaining a zone of safety until
                               arrival of patrol supervisor and
                               Emergency Service Unit personnel.
                           (2) Do not attempt to take EDP into custody
                               without the specific direction of a
                               Supervisor.

             2. Request ambulance, if one has not already been
                dispatched.
                     a)     Ascertain if Patrol Supervisor is responding
                            and, if not, request response.

       Note: Communications Section will automatically direct the patrol
       supervisor and Emergency Service Unit to respond to scene in
       such cases. Patrol Supervisors' vehicles are equipped with less
       lethal devices to assist in the containment and control of EDP's,
       and will be used at the Supervisor's direction, if necessary.

             3. Establish police lines.

             4. Take EDP into custody if EDP is unarmed, not violent
          and willing to leave voluntarily.

       E. When Person Has Been Restrained

            1.   Remove property that is dangerous to life or will aid
                 escape.

            2.   Have person removed to hospital in ambulance.
                    a) Restraining equipment including handcuffs may

                   CITY OF NEW YORK POLICE DEPARTMENT                            PAGE6

                                                                                   DEF 5665
LESSON: POLICING THE EMOTIONALLY DISTURBED                                       INSTRUCTOR
                                                                                 CUES:

                         be used if patient is violent, resists, or upon
                         direction of physician examiner.
                      b) If unable to transport with reasonable restraint,
                         ambulance attendant or doctor will request
                         special ambulance.
                      c) When possible, a female patient being
                         transported should be accompanied by another
                         female or by an adult member of her immediate
                         family.

             3.   Ride in body of ambulance with patient.
                      a) At least two (2) Uniformed Members of the
                         Service will safeguard if more than one (1)
                         patient is being transported.

       Note: If an ambulance is NOT available and the situation warrants,
       transport the EDP to the hospital by RMP if able to do so with
       reasonable restraint, at the direction of a supervisor. UNDER NO
       CIRCUMSTANCES WILL AN EDP BE TRANSPORTED TO A
       POLICE FACILITY.

             4.   Inform examining physician, upon arrival at hospital, of
                  use of less lethal restraining devices, if applicable.

             5.   Safeguard patient at hospital until examined              by
                  psychiatrist.

                     a) When entering psychiatric ward of hospital, unload
                        firearm at Firearm Safety Station, if available (see
                         P.G. 216-07, "Firearms Safety Stations at
                         Psychiatric Wards and Admitting-Areas').

             6.   Inform psychiatrist of circumstances which brought patient
                  into police custody:
                       a) Inform relieving Uniformed Member of
                          circumstances if safeguarding extends beyond
                          expiration of tour.

                      b) Relieving Uniformed Member will inform
                         psychiatrist of details.

             7.   Enter details in ACTIVITY LOG (PD112-145 and
                  prepare AIDED REPORT WORKSHEET (PD304-
                  152b).

             8.   Deliver AIDED REPORT WORKSHEET to the Desk
                  Officer.

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                                                                                         DEF 5666
LESSON: POLICING THE EMOTIONALLY DISTURBED                                    INSTRUCTOR
                                                                              CUES:


       F. Use Of Less Lethal Devices To Assist In Restraining
          Emotionally Disturbed Persons

            1.     All Patrol Supervisors and Platoon Commanders
                  performing patrol duty assigned to the Patrol Services
                  Bureau, Housing and Transit Bureaus will be required
                  to carry a CED (Conducted Energy Device)

            2.    LESS LETHAL RESTRAINING DEVICE/RESCUE
                  EQUIPMENT
                    a) Carried in the patrol officer's auto or person
                           (1)    Pepper Spray
                           (2)    3 foot polycarbonate shield

                      b) Carried in the Patrol Supervisor's auto:
                             ( 1) Conducted Energy Device
                             (2) Velcro Restraining Straps
                             (3) 3 foot polycarbonate shield
                             (4)    Pepper Spray

       G. To Avoid Causing A Death By Positional Asphyxia, Adhere To
          The Following Rules:


                 1. The use of restraints to "hog-tie" (restraining person
                    by connecting or tying rear cuffed hands to cuffed or
                    shackled ankles or legs) subjects and the
                    transportation of subjects in a face down position
                    within any vehicle are prohibited.

                 2. Get people in custody off their stomachs as soon as
                    possible.
                     a) Under no circumstances may EDP's or other
                         persons in custody be restrained, confined, or
                         transported in a prone position for longer than it
                         takes to complete rear cuffing them.
                     b) Do not use ropes on anybody.
                     c) Do not use choke holds
                     d) Get immediate help to people who have
                         difficulty breathing.
                              (1)    Immediately request medical
                                     assistance.
                              (2)    Patrol Supervisor will direct that
                                     alternate means to maintain custody
                                    will be utilized, if appropriate.



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                                                                                      DEF 5667
LESSON: POLICING THE EMOTIONALLY DISTURBED                                    INSTRUCTOR
                                                                              CUES:

        H. "Think Tactics"

             1.      Obtain the following information:
                        a) Whether a person is armed with weapons
                        b) Medical or psychiatric history
                        c) Location
                        d) Presence of others
                        e) Person arrested or history of violence
                        f) History of alcohol or substance abuse
                        g) Other uniformed people on scene
                        h) Other UMOS knows person

              2.     Designate one officer as the "contact officer" and the
                     other as the "cover officer."

              3.     Get as much information regarding EDP from family
                     member or others.

              4.     Be aware of your surroundings.

              5.     Maintain a safe distance from EDP (minimum of 20
                     feet).

              6.     Respect the EDP's personal space.

              7.     Do not take offense at any action or words directed at
                     you.

              8.     Do not attempt to intimidate or threaten EDP's. Such
                     techniques may work with rational criminals, but are
                     likely to further excite EDP's.

       I.   Communicating With EDP/ Mentally Ill

                  1. Do not rush unless emergency exists

               2. Do not make sudden movements

               3. Distance equals safety (minimum of 20 feet)

               4. Do not challenge the EDP's perceptions

               5. Do not stare at or maintain eye contact with EDP- may
                  interpret this as threatening or challenging.

               6. Avoid behavior that causes agitation



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                                                                                      DEF 5668
LESSON: POLICING THE EMOTIONALLY DISTURBED                                        INSTRUCTOR
                                                                                  CUES:

                 7. Do not lie or try to deceive

                8. Do not argue with or challenge the EDP

                9. Do not try to intimidate or frighten the EDP

                10. Maintain empathy

                 11.Be calm

                 12. Lower your radio

                13. Coordinate your plan of action with your partner

                14.TAKE AS MUCH TIME AS YOU NEED


   Ill.LEGAL ISSUES REGARDING MENTAL ILLNESS                                      Leaming Objective
                                                                                  #3
         A. The Mental Hygiene Law governs the way people are handled
   when they are admitted to, treated in, and discharged from in patient
   and out patient facilities. Admission criteria to psychiatric facilities are
   set forth in Section 9 of the Mental Hygiene statue.

               1.   Section 9.58 of the Mental Hygiene Law states that
                    physicians or members of a Mobile Crisis Outreach
                    Program or Assertive Community Treatment Team
                    may authorize the removal or direct the removal of
                    one who appears to be mentally ill and a dangerous
                    threat. The responsibility for securing a person during
                    removal and transport is the responsibility of the
                    Police Department.

               2.   Section 9.60 Assisted Outpatient Treatment (AOT)
                    also referred to as "Kendra's Law". This law
                    establishes the procedure for a court to commit an
                    individual against his or her will to outpatient
                    treatment. Family members can make a petition for
                    this law to the court and other interested parties for a
                    person to be placed in assisted out patient treatment.


 IV. MOBLE CRISIS OUTREACH TEAMS AND ASSERTIVE                                    Learning Objective
     COMMUNITY TREARMENTS                                                         #4

       A.    Definitions:



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                                                                                              DEF 5669
LESSON: POLICING THE EMOTIONALLY DISTURBED                                     INSTRUCTOR
                                                                               CUES:

            1.       Mobile Crisis Outreach Teams- These teams are
                     independently operated by local hospitals or
                     community-based mental health organizations, are
                     usually funded by the Department of Health and
                     Mental Hygiene, and may sometimes be attached to
                     New York State licensed "comprehensive emergency
                     programs." Their goal is to assess, stabilize and
                     rapidly refer patients to long- term providers.

                2.   Assertive Community Treatment Teams (ACT)- Similar
                     to Mobile Crisis Outreach Teams, but are "hospitals on
                     wheels," more richly staffed by mental health workers
                     and charged with providing a wide range of ongoing
                     services. ACT teams sometimes need to order
                     involuntary transport of their patients to hospital
                     emergency rooms. They receive contract funding from
                     the Department of Health and Mental Hygiene and are
                     licensed by the New York State Office of Mental
                     Health.

                3.   Qualified Mental Health Professional (QMHP) - are
                     members of a Mobile Crisis Outreach or Assertive
                     Community Treatment Team who are licensed
                     psychologists, certified social workers, or registered
                     professional nurses.

      B.   When directed to assist on scene, designated physicians or
           qualified mental health professionals assigned to Mobile
           Crisis Outreach Teams or Assertive Community Outreach
           Teams, Uniformed Members of the Service will:

           Comply with provisions of Patrol Guide 216-05, "Mentally Ill
           or Emotionally Disturbed Persons."

           Examine the Department of Health and Mental Hygiene photo
           identification card of the physician or qualified mental health
           professional on scene.

           1.        Record pertinent information in ACTIVITY LOG
                     (PD112-145), including the identity of the physician or
                     qualified mental health professional ordering the
                     removal, and the length of time the aided was in police
                     custody. Prepare AIDED REPORT WORKSHEET
                     (PD304-152b ).

           2.        Attach Form OMH 475 (Application for Involuntary
                     Admission on Certificate of a Director of Community

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                                                                                       DEF 5670
LESSON: POLICING THE EMOTIONALLY DISTURBED                                   INSTRUCTOR
                                                                             CUES:

                  Services or Designee) OR Form OMH 482 (Mobile
                  Crisis Outreach Team Authorization for Transport) t_
                                                                     o
                  the AIDED REPORT WORKSHEET.

      C. Life Net Referrals

           1.     Life Net is a treatment referral program for individuals
                  or families in need of counseling assistance outside
                  the purview of this Department. A Life Net refe rra I
                  should be made when you encounter an individual,
                  who doesn't require any additional police involvement,
                  is not a danger to themselves or others and who might
                  benefit from speaking to a LI FEN ET counselor to
                  discuss their options for counseling and /or treatment.
                  Once an officer has determined that a person is not a
                  danger to themselves or others, a Life Net card can be
                  given to anyone in need of counseling for any sort of
                  family, emotional or substance abuse problem . The
                  card, which contains the program's telephone
                  numbers: (1-800-LIFENET OR 1-877-AUYDESE
                  [Spanish line]) can also be given to anyone who is
                  distressed by how mental illness or substance abuse
                  is affecting their family or household.

           2.     Examples of persons who may be given a Life Net card
                  Includes:

                  a)     Non dangerous people who suffer from mental
                         illness
                  b)     Family members of people with mental illness
                         who are non-compliant with their Medication
                         /treatment
                  c)     Depressed or anxious people
                  d)     Confused / lonely elders
                  e)     Traumatized persons
                  f)     Substance abusers
                  g)     Chronic callers
                  h)     Crime victims


  V. PROPERLY PREPARE AN AIDED REPORT WORKSHEET FOR                          Learning Objective
    AN EMOTIONALLY DISTURBED PERSON.                                         #5

      A. Prepare an Aided Report Worksheet utilizing the scenario in the
         Police student's Guide.




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                                                                                         DEF 5671
LESSON: POLICING THE EMOTIONALLY DISTURBED                                     INSTRUCTOR
                                                                               CUES:




 VI. MENTAL DISORDERS                                                          Learning Objective
                                                                               #6
   A. Specific Mental Disorders

        1.   Psychosis
                 a) Difficulty distinguishing fantasy from reality
                        (1) Hallucinations
                               (a) hears voices and sees people that are not
                                   there
                        (2) Delusions
                               (a) false beliefs that are thought to be true
       2.    Paranoia
                a) Belief that people are talking about or plotting against
                    him.
                b) May appear undisturbed and fake normality.

       3.    Mania
                a) One phase of a mood disorder marked by periods of
                   elevated but often irritable mood.
                      ( 1) Very talkative
                      (2) Euphoria
                      (3) Impulse control problems

       4.    Depression
                a) Mood disorder marked by periods of feeling very down
                   and low
                       ( 1 ) Low-self esteem
                       (2) Sleeping problems
                       (3) Lack of emotions


       5.    Manic Depression or Bipolar Disorder
                a) Experience extreme mood swings between
                   depression and elation

       6.    Schizophrenia
                 a) Person exhibits a pattern of bizarre conduct followed
                    by periods of normality
                       (1) Thought or speech appear illogical or
                           incoherent
                       (2) Disheveled appearance
                       (3) Hostility and belligerence

       7.    Anxiety Disorders
                 a) External or internal events that trigger discomfort,

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                                                                                           DEF 5672
LESSON: POLICING THE EMOTIONALLY DISTURBED                                        INSTRUCTOR
                                                                                  CUES:

                      uncertainty, or danger
                        (1) Free-floating anxiety
                                (a) General state of anxiety that seems to
                                    engulf the person most of the time.
                                (b) Prone to impulsive acts
                                (c) May experience panic attacks
                        (2) Phobias
                                (a) Severe fear of specific objects or
                                    situations
                                        (i) Arachnophobia (fear of spiders)
                        (3) Post-Traumatic Stress Disorder
                                (a) Feels as though a traumatic experience
                                    is happening
                                        (ii) Military combat
                        (4) Panic Attacks
                                (a) Sudden overwhelming feeling of anxiety
                                        (i) Chest pains
                                        (ii) Sweating
                                        (iii) Vertigo

     B. Read and Discuss in class, Eleven Myths about Mental Illness              Appendix "A"


     C. Read and Discuss in class, Interacting with a Person with Mental          Appendix "B"
        Illness


                               CONCLUSION

       Encounters with "Emotionally Disturbed Persons," otherwise known
as "EDP's," are among the most frequent and sensitive of all police
interactions. On average, NYPD Patrol Officers are dispatched to reports of
EDP's almost 200 times a day. Other officers encounter EDP's independent
of the radio dispatcher, when they see them while patrolling their posts or
are told about EDP's by passersby. On occasion, EDP's come to police
attention because their actions are criminal, and result in injury to people or
damage to property.

        Dealing with people who are emotionally disturbed requires a high
degree of skill and sensitivity. As police, we are responsible for getting such
people to mental health professionals, but we also have other
responsibilities: We must protect the lives and safety of EDP's, as well as,
the lives and safety of other innocent people, including ourselves. We also
have an obligation to protect emotionally disturbed persons' rights and
dignity.

       Recognizing and properly handling situations involving persons who

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                                                                                 CUES:

may be emotionally disturbed is critical to your safety and others, including
the EDP, and to your effectiveness as a Police Officer.

At the conclusion of this lesson, the student will be able to:

   •   Identify and recognize emotionally disturbed persons as per
       classroom discussion.
   •   Explain and describe how to deal with emotionally disturbed persons
       (EDP'S) based on classroom discussion and Patrol Guide.
   •   Identify the legal issues regarding mental illness .
   •   Explain the procedures pertaining to Mobile Crisis Outreach Teams
       and Assertive Community Treatment Teams and the proper use of a
       Life Net Referral.
   •   Properly prepare an Aided Report Worksheet for an Emotionally
       Disturbed Person
   •   Identify specific mental disorders based on classroom discussion .


                      OPTIONAL EDP ROLE PLAY

  1)    Responding to a radio call of a disturbance, police officer knocks on    Instructors may
        door [use classroom door to simulate] and is met by a man who            choose to utilize the
        states his son has a history of mental illness and is making             optional role-play in
        threatening gestures with a knife.                                       class to determine
                                                                                 the recruit's
        -   Recruit should ask if there is anybody else inside the apartment.    knowledge of the
            If the officer asks, indicate that the EDP is alone inside the       lesson.
            apartment.

        -   If the recruit does not ask, make sure it is emphasized that the
            EDP is alone inside the apartment.

        -   Inside the room have EDP on other side of room making
            threatening gestures with a knife [prop].

        -   Make sure EDP is not advancing toward officer [important to
            emphasize this to the actor].

  •    If handled properly, the officer will have the complainant exit the
       apartment, close the door (thereby isolating and containing the EDP
       inside apartment) and call for the Patrol Supervisor and Emergency
       Services.

  •    If handled improperly the officer will approach the EPD. If the officer
       approaches, have the EDP make an imminent threat with the knife.
       This should put the officer in a position where he/she is forced to


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                                                                           CUES:

    shoot. Explain that the shooting would not have been necessary
    had the officer followed Department guidelines.

 Note: Regardless of how the officer reacts, review the Department
      guidelines regarding the handling of emotionally disturbed persons
      (P.G. section 216-05).




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